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                                    IN THE UNITED STATES DISTRICT COURT
                                   FOR THE SOUTHERN DISTRICT OF FLORIDA
                                         FORT LAUDERDALE DIVISION

                                                                                         :
 JAMES EVERETT SHELTON, individually and                                                 :
 on behalf of all others similarly situated,                                             :
                                                                                         : CASE NO.: 0:19-cv-61787-RKA
                          Plaintiff,                                                     :
                                                                                         :
 v.                                                                                      : CLASS ACTION
                                                                                         :
 RAPID RESPONSE MONITORING                                                               :
 SERVICES INCORPORATED, a New York                                                       :
 company, and FIVE DIAMOND SECURITY,                                                     :
 LLC, a Florida company,                                                                 :
                                                                                         :
                          Defendants.                                                    :


      DEFENDANT RAPID RESPONSE MONITORING SERVICES INCORPORATED’S
          UNOPPOSED MOTION FOR EXTENSION OF TIME TO RESPOND TO
                        CLASS ACTION COMPLAINT

              Defendant Rapid Response Monitoring Services Incorporated (hereinafter “Defendant” or

 “Rapid Response Monitoring”), by and through undersigned counsel and pursuant to Federal

 Rule of Civil Procedure 6(b)(1)(A), hereby files this Unopposed Motion for Extension of Time

 to respond to the Class Action Complaint [DE 1] filed by Plaintiff James Everett Shelton,

 individually and on behalf of all others similarly situated (“Plaintiff”), and in support thereof,

 states as follows:

              1.          Plaintiff served the Class Action Complaint under the Telephone Consumer

 Protection Act (“TCPA”) and related claims on Rapid Response [DE 1] on July 24, 2019.

              2.          Defendant’s response to the Complaint is due on August 14, 2019.

              3.          Federal Rule of Civil Procedure 6(b)(1)(A) allows this Court to extend the time

 for Defendant to respond to the Complaint.

              4.          Undersigned counsel is working to investigate the facts and prepare the response


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 in this case. Due to scheduling conflicts and the press of other business matters, Defendant

 respectfully requests a 30 day extension of time, up to and including September 13, 2019, to file

 its response to Plaintiff’s Complaint.

           5.          On August 5, 2019, Defendant’s counsel conferred with Plaintiff’s counsel, Avi

 Kaufman, Esquire, regarding the requested extension of time and Mr. Kaufman advised that he

 has no objection to the requested extension of time.

           6.          Undersigned counsel represents to this Court that this Motion is not being

 interposed for purposes of delay or harassment and, should the Court grant the relief requested

 herein, Plaintiff will not be unduly prejudiced.

           7.          A copy of the proposed Order is attached hereto as Exhibit "A."

           WHEREFORE, Defendant, Rapid Response Monitoring Services Incorporated,

 respectfully requests that this Court grant it an extension of time, through and including

 September 14, 2019, within which to file its response to Plaintiff’s Class Action Complaint,

 together with such other and further relief this Court deems just and proper.


                                                                          Respectfully Submitted,

                                                                          BUCHANAN INGERSOLL & ROONEY, PC
                                                                          One Biscayne Tower
                                                                          2 South Biscayne Blvd., Suite 1500
                                                                          Miami, Florida 33131
                                                                          Telephone: (305) 347-4080
                                                                          Facsimile: (305) 347-4089

                                                              By:          /s/ Jennifer Olmedo-Rodriguez
                                                                          Jennifer Olmedo-Rodriguez, Esq.
                                                                          Florida Bar No. 605158
                                                                          Jennifer.olmedo-rodriguez@bipc.com

                                                                         Counsel for Defendant, Rapid Response Monitoring
                                                                         Services Incorporated



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                                                            CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that a true and correct copy of the foregoing instrument has been

 electronically filed with the Clerk of Court using CM/ECF on August 7, 2019 and a copy of

 same will be served by the E-Filing Portal via E-mail upon counsel or parties registered on the

 CM/ECF system.

                                                                           By:           /s/ Jennifer Olmedo-Rodriguez
                                                                                        Jennifer Olmedo-Rodriguez, Esq.
                                                                                        Florida Bar No. 605158




 4833-5199-6575, v. 1




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